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            IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF TEXAS
                     BEAUMONT DIVISION


                                   No. 1:10-CR-70


 United States of America

 v.

 Rogelio Dominguez Pineda
                                               Defendant




      Report and Recommendation of United States Magistrate Judge 1



                               I. Nature of the Case

        This criminal action involves an alleged conspiracy to possess controlled
 substances with intent to distribute. Forty defendants are accused. The alleged
 conspiracy commenced in 2008, and continued until 2010. The quantities of
 controlled substances involved (“actual and ice” methamphetamine, mixtures
 and substances containing a detectable amount of methamphetamine and
 mixtures and substances containing a detectable amount of cocaine) are such
 that any conviction will carry a mandatory sentence of imprisonment of not less
 than ten years, up to life.



        1
             This matter is before the undersigned pursuant to Referral Order No.
 RC-72.4 entered on March 16, 2009. The order enumerates specific duties of the
 magistrate judges in criminal actions assigned to United States District Judge
 Ron Clark. Section, 2.d., directs magistrate judges to “consider and determine
 all other pretrial motions.” Because (a) a motion to disqualify defense counsel
 involves balancing two Sixth Amendment rights, and (b) magistrate judges lack
 authority to adjudicate felony criminal cases even with consent of the parties,
 the undersigned submits a report with a recommended disposition notwithstanding
 language to the contrary in the referral order.
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                 II. Motion to Disqualify Defense Counsel

       The United States moves the court to enter an order disqualifying counsel
 of record for the lead defendant, Rogelio Dominguez Pineda (“Pineda”). The
 United States alleges that Pineda’s attorney, James Tucker Graves, Esq.
 (“Graves”), has a conflict of interest because: (a) he has represented two co-
 conspirator defendants on related state court charges during the existence of the
 alleged conspiracy involved here, and (b) he is a witness to the conspiracy.
 Specifically, the government’s motion avers that Graves represented co-
 defendant no. 2, Jonathan A. Cuadros-Zabala (“Cuadros-Zabala”) and co-
 defendant no. 7, Aurelio Pineda-Moreno (a/k/a/ “Pelon”), in drug cases pending
 in Harris County, Texas, state courts in July, 2009. The United States further
 alleges that during its investigation of this case, and while an ongoing Title III
 wire intercept order was in place on Pineda’s telephone, Graves was recorded
 speaking with Pineda at least 17 times. These conversations revealed that: (a)
 Pineda paid Graves to represent Cuadros-Zabala; (b) Pineda asked Graves to
 find out what charges were brought against “Pelon;” (c) Graves offered to
 represent “Pelon;” (d) Graves advised Pineda that “Pelon” could have been
 released because he was a “snitch;” and (e) Graves told Pineda “so just let
 everyone know to be careful.”

       Pineda did not respond to the government’s motion. At an evidentiary
 hearing held on November 16, 2010, however, Graves argued in opposition to the
 motion. Graves asserted that no conflict of interest arises from prior representa-
 tion because he has never represented Cuadros-Zabala or “Pelon.”           Graves
 further argued that no conflict of interest arises due to his status as a witness
 because: (a) the court will suppress the wiretap evidence on which the United
 States relies, and (b) in any event, his communications with Pineda are innocent
 in nature and in no way probabtive of the alleged conspiracy.
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                           III. The Garcia Hearing 2

 A.    Prior Representation

       At the evidentiary hearing, the United States admitted that it has no
 evidence that Graves previously represented either Cuadros-Zabala or “Pelon”.
 After filing its motion, the United States determined that the “Jonathon” who
 Graves represented in Harris County was Jonathan Abraham Pineda, not
 Jonathan Cuadros-Zabala. Abraham Pineda is located in Mexico, and is not a
 defendant in this action.3 In addition, the United States produced no evidence
 that Graves represented “Pelon” in Harris County. Whatever charges resulted
 in “Pelon’s” arrest were dropped, and he was released before any counsel
 appeared to represent him.

       Given the government’s allegations, the undersigned nevertheless: (a)
 advised Pineda of his constitutional right to the effective assistance of counsel;
 (b) carefully explained to Pineda the dangers of joint representation of co-
 defendants by the same counsel; (c) strongly recommended that Pineda avoid
 dual representation; (d) offered to continue the hearing until a later date in order
 that Pineda could consult with another, independent counsel about the wisdom
 of waiving his right to separate counsel; and (e) upon Pineda’s request,
 appointed a CJA counsel to consult with Pineda concerning dual representation.




       2
              When considering motions to disqualify, federal courts conduct
 hearings of the type articulated in United States v. Garcia, 517 F.2d 272, 275
 (5 th Cir. 1975).  The nature of such hearings is discussed in Section IV.A,
 infra.
       3
            The United States avers that Jonathon Abraham Pineda is, nonetheless,
 an unindicted co-conspirator, but presented no evidence confirming that
 assertion.
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       At the conclusion of the hearing, Pineda executed a written waiver of any
 conflict of interest on the part of his attorney, Graves, and expressed his desire
 that Graves continue to represent him in this case. Subsequently, Pineda’s
 court-appointed CJA counsel filed a report again confirming that Pineda wishes
 to have Graves continue as his lawyer, while “retain[ing] his right to ‘revoke’ his
 waiver if circumstances surrounding the case change and he believes attorney
 Graves is not rendering conflict free representation as contemplated by his right
 to the effective assistance of counsel pursuant to the Sixth Amendment.”

 B.    Attorney as Witness

       Based on the contents of 17 intercepted phone calls between Graves and
 Pineda, the United States asserts that Graves can be called to establish the
 existence of a conspiracy. The government further asserts that even if Graves
 is not actually called as a witness during the trial, recordings of the conversa-
 tions between Graves and Pineda will be admitted, and Graves would become an
 unsworn witness whose “testimony” could create an untenable situation,
 prejudicial to both the government and Pineda.

       As mentioned earlier, Graves argued that nothing in his recorded
 conversations with Pineda proves the alleged conspiracy, and the court will not,
 in any event, permit the recorded conversations to be admitted into evidence.

                              IV. Legal Standards

 A. Garcia Hearings

       Because the Sixth Amendment guarantees the right to representation that
 is free from any conflict of interest, when “a defendant chooses to proceed with
 representation by counsel who has a conflict of interest, a district court must
 conduct what is commonly known as a ‘Garcia hearing’ to ensure a valid waiver

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 by the defendant of his Sixth Amendment right.” United States v. Brown, 553
 F.3d 768, 799 (quoting United States v. Garcia-Jasso, 472 F.3d 239, 243 (5th Cir.
 2006)). Such hearings “provide a means for a court to vindicate a defendant’s
 constitutional right to counsel.” Id.; United States v. Garcia, 517 F.2d 272, 275
 (5th Cir. 1975), abrogated on other grounds by Flanagan v. United States, 465
 U.S. 259, 263 & n.2 (1984). During such hearing, a district court must “ensure
 that the defendant: (1) is aware that a conflict of interest exists; (2) realizes the
 potential hazards to his defense by continuing with such counsel under the onus
 of a conflict; and (3) is aware of his right to obtain other counsel.” United States
 v. Greig, 967 F.2d 1018, 1022 (5th Cir. 1992).

       While a defendant may knowingly and intelligently waive conflicts of
 interest, the district court is allowed “substantial latitude” to refuse such
 waivers in cases of either actual or potential conflict. Wheat v. United States,
 486 U.S. 153, 163 (1988); United States v. Gharbi, 510 F.3d 550, 553 (5th Cir.
 2007) (“[T]here is a presumption in favor of a defendant’s counsel of choice, but
 that presumption may be overcome by an actual conflict of interest, or by a
 showing of a serious potential for conflict.”). Thus, a defendant’s right to counsel
 is not absolute, and must not interfere with the court’s administration of justice.
 Specifically:

       Notwithstanding the importance of the right to counsel of choice,
       that right is not absolute. In determining whether or not to
       disqualify defense counsel, the court must balance two Sixth
       Amendment rights: (1) the right to be represented by counsel of
       choice and (2) the right to a defense conducted by an attorney who
       is free of conflicts of interest . . . . The need for fair, efficient and
       orderly administration of justice overcomes the right to counsel of
       choice where an attorney has an actual conflict of interest . . . .

 United States v. Ross, 33 F.3d 1507, 1523 (11th Cir. 1994) (emphasis added)
 (citing Wheat v. United States, 486 U.S. 153, 163 (1988) and United States v.
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 Casiano, 929 F.2d 1046, 1052 (5th Cir. 1991)). In other words, a defendant’s
 right to counsel of his choice must yield to the higher interest of the effective
 administration of the courts, Gandy v. Alabama, 569 F.2d 1318 (5th Cir. 1978),
 and disqualification may occur even with a waiver of any conflict of interest,
 Wheat, 486 U.S. at 159. The determination of whether the defendant’s Sixth
 Amendment right overrides the conduct of his attorney is committed to the trial
 court’s discretion. United States v. Dinitz, 538 F.2d 1214, 1219 (5th Cir. 1976).

 B.    Multiple Representations

       The need for fair, efficient and orderly administration of justice overcomes
 the right to counsel of choice where an attorney has an actual conflict of interest,
 such as when he has previously represented a person who will be called as a
 witness against a current client at a criminal trial. Ross, 133 F.3d at 1523
 (emphasis added) (citing Wheat v. United States, 486 U.S. 153, 163 (1988) and
 United States v. Casiano, 929 F.2d 1046, 1052 (5th Cir. 1991)). Factors found
 to be particularly relevant when analyzing a conflict based on prior representa-
 tion include: (1) whether the attorney has confidential information that is
 helpful to one client but harmful to the other client; (2) whether and how closely
 related is the subject matter of the multiple representations; (3) how close in
 time the multiple representations are; and (4) whether the prior representation
 has been unambiguously terminated. United States v. Burns, 526 F.3d 852, 856
 (5 th Cir. 2008) (citation omitted).

 C.    Lawyer as Witness

       The Fifth Circuit has stated that “[m]otions to disqualify are substantive
 motions affecting the rights of the parties and are determined by applying
 standards developed under federal law.” In re American Airlines, Inc., 972 F.2d
 605, 610 (5th Cir. 1992); see also In re Dresser Industries, Inc., 972 F.2d 540,

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 543 (5th Cir. 1992). Under 28 U.S.C. § 2071, district courts may adopt rules for
 the conduct of attorneys. A court must “consider the motion governed by the
 ethical rules announced by the national profession in the light of the public
 interest and the litigant’s rights.” American Airlines, 972 F.2d at 610. The
 norms embodied in the Model Rules and the Model Code are relevant “as the
 national standards utilized by this circuit in ruling on disqualification motions.”
 Id. Federal courts also may adopt state or American Bar Association rules as
 their ethical standards, but whether and how these rules apply are questions of
 federal law. Horaist v. Doctor's Hosp. of Opelousas, 255 F.3d 261, 266 (5th Cir.
 2001) (citing FDIC v. United States Fire Ins. Co., 50 F.3d 1304, 1312 (5th Cir.
 1995)); American Airlines, 972 F.2d at 610. For example, in FDIC v. United
 States Fire Ins. Co., 50 F.3d 1304, 1311-12 (5th Cir. 1995), the Fifth Circuit
 determined that relevant state and national ethical standards to be the local
 rules, the Model Rules, the Model Code, and the Texas Rules.

       The Local Rules of the Eastern District of Texas state that “the Rules
 Governing the State Bar of Texas shall serve as a guide governing the
 obligations and responsibilities of all attorneys appearing in this court,” and
 include by reference the Texas Disciplinary Rules of Professional Conduct. E.D.
 Tex. Local Rule AT-2(a).

       The Texas Disciplinary Rules of Professional Conduct state that a “lawyer
 shall not accept or continue employment as an advocate before a tribunal in a
 contemplated or pending adjudicatory proceeding if the lawyer knows or believes
 that the lawyer is or may be a witness necessary to establish an essential fact
 on behalf of the lawyer’s client. See T EX. D ISP. R. P ROF. C ONDUCT § 3.08(a).
 Section (b) provides that a lawyer is not to continue as an “advocate in a pending
 adjudicatory proceeding” if the lawyer believes that he will be “compelled to
 furnish testimony that will be substantially adverse to the lawyer’s client,”
 unless the client consents after “full disclosure.”
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       Under Rule 3.08, the fact that a lawyer serves as both advocate and
 witness does not in itself compel disqualification. Tex. Disciplinary R. Prof’l
 Conduct 3.08(a); In re Sanders, 153 S.W.3d 54, 57 (Tex. 2004). Moreover, Rule
 3.08 rarely is a basis for disqualification. In re Chu, 134 S.W.3d 459, 464
 (Tex.App.-Waco 2004, orig. proceeding); May v. Crofts, 868 S.W.2d 297, 399
 (Tex.App.-Texarkana 1993, orig. proceeding). As such, the party moving for
 disqualification must present evidence that the testimony of the lawyer is
 necessary and that it goes to an essential fact of the nonmovant’s case. In re
 Chu, 134 S.W.3d at 464. Nonetheless, a trial court order that disqualifies a
 lawyer in order to prevent violation of Rule 3.08 is appropriate when warranted.
 Ayres, 790 S.W.2d at 556 n. 2.

       ABA Model Rule 3.7 states that “[a] lawyer shall not act as advocate at a
 trial in which the lawyer is likely to be a necessary witness,” unless the
 testimony relates to an uncontested issue or disqualification of the lawyer would
 be a substantial hardship on the client. M ODEL R ULES OF P ROF’L C ONDUCT R.
 3.7(a).

       The applicable disciplinary rule of the Model Code states that “[a] lawyer
 shall not accept employment in contemplated or pending litigation if he knows
 or it is obvious that he or a lawyer in his firm ought to be called as a witness,”
 unless the testimony relates to an uncontested issue, a matter of formality, the
 nature and value of legal services, or disqualification of the lawyer would be a
 substantial hardship on the client. M ODEL C ODE OF P ROF’L R ESPONSIBILITY DR
 5-101(b).

       1.    Unsworn Witness

       An attorney acts as a “sworn witness” when he testifies at trial, under
 penalty of perjury.    An attorney acts as an “unsworn witness” when his
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 relationship to his client results in his having first-hand knowledge of the events
 presented at trial. U.S. v. Locascio, 6 F.3d 924, 933 (2d Cir. 1993). In United
 States v. Reeves, 892 F.2d 1223, 1227 (5th Cir. 1990), a case in which defense
 counsel was recorded in two videotapes with the defendant, the Fifth Circuit
 found that since a party might seek to use those tapes at trial, defense counsel
 would be forced to either refrain from commenting on the tapes or serve as an
 unsworn witness from the lawyers’ podium. Thus, the Fifth Circuit determined
 that the district court was well within its discretion to disqualify the defense
 counsel despite the waiver of defendant.

                                 V. Discussion

       The United States’s motion to disqualify Graves on the ground of a conflict
 of interest arising from his prior representation of other defendants lacks merit.
 The United States concedes that it has no evidence of prior representation of any
 co-defendant by Graves. None of the dangers of joint representation has been
 shown to exist presently. The only potential conflict that could arise in the
 future would be in the unlikely event that Jonathan Abraham Pineda would
 return from Mexico as a witness or newly indicted defendant at trial. Pineda
 has, in any event, waived any tangential conflict, if any, arising from Graves’s
 prior representation, after being carefully advised and admonished by the court,
 and after consulting with an independent, court-appointed counsel. Conse-
 quently, this is not an instance when Pineda’s right to counsel of his choice must
 yield to the higher interest of the effective administration of the courts.

       The United States’s motion to disqualify Graves on the ground of a conflict
 of interest arising from his status as a potential witness in the case is stronger.
 Evidence that Pineda paid Graves to represent another person (Jonathan
 Cuadros-Zabala) charged with a drug offense during the existence of the alleged

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 conspiracy is probative of an association of Pineda with others accused of
 committing drug offenses. Evidence that Graves offered to provide similar
 representation to a co-defendant, Aurelio Pineda-Moreno (a/k/a/ “Pelon”), has
 similar relevance.    Evidence that Pineda and Graves were concerned that
 “Pelon” might be a “snitch” suggests that “Pelon” may have known of an
 agreement between Pineda and others to accomplish some unlawful purpose.
 Finally, evidence that Graves advised Pineda to “let everyone know to be careful”
 suggests that two or more persons may have willfully joined together in an
 agreement to accomplish some unlawful objective.

       Graves, therefore, appears to be in the untenable position where he may
 be a sworn or unsworn witness whose testimony will be adverse to Pineda. As
 such, he has a disqualifying conflict of interest that overrides Pineda’s proposed
 waiver. If the court disqualifies Graves, perhaps no conflict will ever material-
 ize, but what evidence the court will allow may not be clear until the midst of
 trial. Consequently, this is an instance when Pineda’s right to counsel of his
 choice must yield to the higher interest of the effective administration of the
 courts.

                             VI. Recommendation

       The court should deny the United States’s motion to disqualify to the
 extent it is based on an alleged conflict of interest arising from prior representa-
 tion of other defendants.

       The court should grant the United States’s motion to disqualify to the
 extent it is based on a conflict of interest arising from counsel’s status as a
 potential witness whose testimony is adverse to his client and lead defendant,
 Rogelio Dominguez Pineda.


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                                 VII. Objections

       Objections must be: (1) specific, (2) in writing, and (3) served and filed
 within fourteen (14) days after being served with a copy of this report. See 28
 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a), 6(b), and 72(b).

       A party’s failure to object bars that party from: (1) entitlement to de novo
 review by a district judge of proposed findings and recommendations, see
 Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and (2) appellate
 review, except on grounds of plain error of unobjected-to factual findings and
 legal conclusions accepted by the district court, see Douglass v. United Servs.
 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc).




       SIGNED this 7 day of December, 2010.




                                       ___________________________________
                                       Earl S. Hines
                                       United States Magistrate Judge




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